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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

                 1:19
Civil Action No. _____      02871
                       -cv- __________- SKC
                                        _____
ETHEL SUSANNE HALTER                              ,

       Plaintiff(s),

v.
 WELD COUNTY SHERIFF'S OFFICE, et al.             ,

       Defendant(s).


           ELECTION CONCERNING CONSENT/NON-CONSENT TO
            UNITED STATES MAGISTRATE JUDGE JURISDICTION
______________________________________________________________________

       Under 28 U.S.C. § 636(c) and

       (1)     D.C.COLO.LCivR 40.1(c) (Assignment of Cases/Direct Assignment to
               Magistrate Judges);

       or

       (2)     Fed. R. Civ. P. 73 and D.C.COLO.LCivR 72.2 (Consent Jurisdiction of a
               Magistrate Judge);

       or

       (3)     D.C.COLO.LAPR 72.2 (Consent Jurisdiction of a Magistrate Judge).

                                       CHECK ONE

      ✔           all parties in this civil action CONSENT to have a United States
magistrate judge conduct all proceedings in this civil action, including trial, and to order
the entry of a final judgment;

                                             OR

                at least one party in this civil action DOES NOT CONSENT to have a
United States magistrate judge conduct all proceedings in this civil action, including trial,
and to order the entry of a final judgment.
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       Signatures                         Party Represented                   Date
s/ Katherine M.L. Pratt            Weld County Sheriff's Office        10/23/2019
_________________________          _________________________           ________________
             Katherine M.L. Pratt
Print name_____________________________________________________________
s/ Ethel Susanne Halter            Pro Se Plaintiff                    10/23/2019
_________________________          _________________________           ________________
               Ethel Susanne Halter
Print name_____________________________________________________________

_________________________          _________________________           ________________


NOTE:         You are directed to confer with all parties in this action and execute and file
              with the Court this Election Concerning Consent/Non-Consent to United
              States Magistrate Judge Jurisdiction, indicating either the unanimous
              consent of the parties or that at least one party has declined to consent, at
              the earlier of (1) no later than seven days before the scheduling conference,
              if any; or (2) 45 days after the filing of the first response, other than an
              answer, to the operative complaint. All parties must either consent to the
              exercise of magistrate judge jurisdiction, or any party may decline to
              consent. In either event, filing of the Election Concerning
              Consent/Non-Consent to United States Magistrate Judge Jurisdiction
              is mandatory, indicating either the unanimous consent of the parties or that
              at least one party has declined to consent.
